                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                              STATESVILLE DIVISION
                               Case No. _____________

WILLIAM E. YOUNG, JR.,                             )
                                                   )
               Plaintiff,                          )
                                                   )
v.                                                 )
                                                   )
                                                          NOTICE OF REMOVAL
                                                   )
                                                   )
MEDICREDIT, INC.,                                  )
                                                   )
               Defendant.                          )
                                                   )

       Defendant Medicredit, Inc., (“Defendant”) hereby removes the action commenced by

Plaintiff William E. Young, Jr. (“Plaintiff”), from the General Court of Justice, Superior Court

Division, Iredell County, North Carolina, to the United States District Court for the Western

District of North Carolina, Statesville Division. In support thereof, Defendant states as follows:

                                     REMOVAL IS TIMELY

       1.      Plaintiff filed a civil action on August 28, 2014, that is now pending in the

General Court of Justice, Superior Court Division of Iredell County, North Carolina, with File

No. 14 CVS 1838. Pursuant to 28 U.S.C. § 1446(a), copies of all process, pleadings, and orders

from the state court file served upon Defendant are attached hereto as Exhibit 1.

       2.      This Notice of Removal is being filed within thirty (30) days of Defendant’s

receipt of the Complaint on September 2, 2014, as required by 28 U.S.C. § 1446(b). Defendant

hereby reserves any and all rights to assert the insufficiency of process or insufficiency of service

of process as defenses to Plaintiff’s Complaint.




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                        FEDERAL QUESTION JURISDICTION EXISTS

       3.      This Court has jurisdiction over this action pursuant to 28 U.S.C. §§ 1331 and

1441 in that plaintiff’s complaint seeks relief under federal statutes, namely 15 U.S.C. § 1692 et

seq. and 47 U.S.C. § 227 et seq.

                                     REMOVAL IS PROPER

       4.      Pursuant to 28 U.S.C. §§ 1331, 1441, and 1446, removal of the above-captioned

state court action is appropriate.

       5.      Written notice of the filing of the Notice of Removal is being served upon

Plaintiff, and a copy of this Notice of Removal will be filed with the Iredell County Clerk of

Superior Court as provided by 28 U.S.C. § 1446(d). A copy of the notice of filing is attached as

Exhibit 2.

       6.      Venue is proper in this Court pursuant to 28 U.S.C. § 1441(a) in that this district

and division embrace the place where the action is pending.

       7.      Defendant reserves the right to amend or supplement this Notice of Removal.

       8.      Defendant reserves all defenses, and the filing of this Notice of Removal is

without waiver of any defense.

       WHEREFORE, Defendant Medicredit, Inc., prays further proceedings in the Superior

Court of Iredell County, North Carolina, be discontinued and that this action be removed to the

United States District Court for the Western District of North Carolina.

       Respectfully submitted, this the 2nd day of October, 2014.


                                             s/ B. Tyler Brooks
                                             Frank J. Gordon, NC Bar Number: 15871
                                             B. Tyler Brooks, NC Bar Number: 37604
                                             Attorneys for Defendant
                                             MILLBERG GORDON STEWART PLLC

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                               CERTIFICATE OF SERVICE

       I hereby certify that on October 2, 2014, I electronically filed the forgoing NOTICE OF

REMOVAL with the Clerk of Court using the CM/ECF system, and I hereby certify that I have

sent the document to the following via U.S. Mail:

                             Travis E. Collum
                             Collum & Perry, PLLC
                             P.O. Box 1739
                             Mooresville, NC 28115

                             Attorneys for Plaintiff


       This the 2nd day of October, 2014.

                                            s/ B. Tyler Brooks
                                            Frank J. Gordon, NC Bar Number: 15871
                                            B. Tyler Brooks, NC Bar Number: 37604
                                            Attorneys for Defendant
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